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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


          v.                                         5:05-CR-073

PETER JOHN DE MOTT,
CLARE THERESE GRADY
DANIEL JOSEPH BURNS,
TERESA BERRIGAN GRADY,

                                   Defendants.

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THOMAS J. McAVOY
Senior United States District Judge

                                   DECISION and ORDER

I.        INTRODUCTION

          Defendants have been indicted on the following counts: (1) Conspiracy to Impede

an Officer of the United States in violation of 18 U.S.C. § 372; (2) injury and damage to

government property in violation of 18 U.S.C. § 1361; (3) entering a military station for an

unlawful purpose in violation of 18 U.S.C. § 1382; and (4) entering a military station after

having previously been removed in violation of 18 U.S.C. § 1382. Defendants also are

charged with aiding and abetting on Counts 2-4.

          The Indictment alleges the following events. On or about December 21, 2002,

Defendants entered a United States Military recruiting station and lied down on the floor

therein. An officer of the United States directed Defendants to leave the premises. An

officer of the New York State Police also directed Defendants to leave the premises.

Defendants refused. On or about March 17, 2003, Defendants entered the same military
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recruiting station and sprayed a red liquid (believed to be blood) inside causing damage to

property of the United States.

               Currently before the Court are: (1) Defendants’ motion to continue the trial; (2)

Defendants’ motion to dismiss the Indictment; (3) Defendants’ omnibus motion; and (4)

Defendants’ request to introduce evidence concerning international law and the legality of the

war in Iraq.

II.            DISCUSSION

               a.           Motion to Continue the Trial

               Defendants seek an adjournment of the trial date due to the impending birth of

Defendant Burns’ child and because they wish to be assisted at trial by Attorney William

Quigley1 who is unavailable until after July 4, 2005. Defendants contend that they would not

be able to properly prepare for trial any time earlier than July 4, 2005. The request to

continue the trial is GRANTED and this matter shall be set for trial for September 19, 2005.

Because this adjournment was at Defendants’ request, September 19 was the first date

where the Court’s and Attorney Quigley’s schedules allowed for trial time, and the

adjournment is to allow Defendants time to properly prepare their defense, the Court finds

that the ends of justice in allowing such a continuance outweighs the best interest of the

public and the Defendants in a speedy trial and, therefore, all time from the date of this Order

through September 19, 2005 shall be excluded from the Speedy Trial Act computation.




              1
                It app ea rs tha t Attorn ey Q uig ley is n ot cu rre ntly a m em be r of the b ar of this Distr ict o r of this
      State. To a ss ist D efen da nts a t tria l or oth er w ise giv e le ga l ad vic e in New Yo rk, Atto rn ey Q uig ley will
      have to comply with the applicable laws of the State of New York and local rules of this Court concerning
      attorney admissions and practice.

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          b.        Motion to Dismiss the Indictment

          Defendants move to dismiss the conspiracy count (Count One) on the ground that it

omits facts necessary to support such a claim. Essentially, Defendants believe the

Indictment to be defective because it does not detail the specific facts alleged to support the

crimes charged. For example, Defendants believe the Indictment to be insufficient because

it fails to specify the manner in which it is claimed that they impeded an officer in the

discharge of his duties.

          Defendants’ motion to dismiss the Indictment on this ground is DENIED. The

language of the Indictment essentially tracks the language of the statute. Coupled with the

fact that the Indictment gives the time frame of the alleged offenses, names the co-

conspirators, and identifies the overt acts in support of the conspiracy (which also provide a

factual basis for the charges in Counts Two, Three, and Four), it is sufficient. See Sira v.

Morton, 380 F.3d 57, 73 (2d Cir. 2004); United States v. LaSpina, 299 F.3d 165, 177 (2d Cir.

2002).

          Defendants next move to dismiss the Indictment on the ground that war in Iraq is

illegal. This argument is without merit. This Court offers no opinion on the war in Iraq as it is

entirely irrelevant to this matter. Assuming, arguendo, an illegal war, it does not provide a

justification for violating the criminal laws of the United States. United States v. Allen, 760

F.2d 447, 453 (2d Cir. 1985). Such defenses have been rejected by the Second Circuit

Court of Appeals. Id. As the Second Circuit stated, “[n]o matter how convincing

[defendants’] arguments that [the government’s actions] violate[] international law . . .

[defendants] should not be excused from the criminal consequences of acts of civil

disobedience simply because the acts were allegedly directed at international law violations.”

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Id. Irrespective of any notions of international law, the United States “has the power to

protect government property by statute.” Id. at 454. As the Seventh Circuit has stated,

“disagreement with U.S. defense policy and moral disapproval of a law are not defenses to

violating the law.” United States v. Urfer, 287 F.3d 663, 665 (7 th Cir. 2002). The Court finds

that issues of international law are irrelevant to this case (see discussion infra at section

II(d)). Accordingly, Defendants’ motion to dismiss the Indictment on this ground is DENIED.

           c.           Omnibus Motion

           In their omnibus motion, Defendants request: (1) to be relieved from strict

compliance with procedural rules; (2) to conduct their own voir dire; (3) a bill of particulars;

and (4) certain discovery.

                        1.       Compliance With Procedural Rules

           All parties before this Court, whether appearing pro se or through counsel, are

expected to comply with the Federal Rules of Criminal Procedure and the Local Rules of this

Court. Defendants shall endeavor to fully comply with such rules.

                        2.       Voir Dire

           Defendants seek to personally conduct voir dire. There is no right to personally

conduct voir dire. See Fed. R. Crim. P. 24(a)(1). If Defendants appear at trial through

counsel, the Court will permit counsel to examine prospective jurors, subject to Court

supervision. If Defendants do not appear at trial through counsel, Defendants may present

the Court in writing with questions they would like to be posed to the jury.2 The Court, in its

discretion, may pose such questions to the prospective jurors.


           2
            An y s uc h req ue sts m us t be filed with the pre- tria l pa pe rs an d in ac co rd an ce with the tim e
  fram es se t forth in the uniform sche duling o rder.

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                   3.     Bill of Particulars

          "A bill of particulars is required 'only where the charges of the indictment are so

general that they do not advise the defendant of the specific acts of which he is accused.'"

United States v. Walsh, 194 F.3d 37, 47 (2d Cir. 1999) (quoting United States v. Torres, 901

F.2d 205, 234 (2d Cir.), cert. denied, 498 U.S. 906 (1990)). "Furthermore, a bill of particulars

is not necessary where the government has made sufficient disclosures concerning its

evidence and witnesses by other means." Walsh, 194 F.3d at 47. “A bill of particulars

should be required only where the charges of the indictment are so general that they do not

advise the defendant of the specific acts of which he is accused." Torres, 901 F.2d at 234.

          Here, the Indictment gives specifics as to the alleged dates at issue, the names of

all co-conspirators, and specifies the overt acts alleged to have been completed in

furtherance of the crimes charges. Moreover, it appears that, to date, the government has

provided Defendants with extensive discovery. Accordingly, the Court sees no basis for

ordering the government to provide a bill of particulars.

                   4.     Discovery and Disclosure

          To the extent Defendants are seeking grand jury materials, they have failed to

demonstrate a particularized need. In re Grand Jury Subpoena, 103 F.3d 234, 239-40 (2d

Cir. 1996).

          Finally, Defendants seek “a copy of all communications between the state

prosecutor’s office and the federal prosecutor’s office and any authorities in any level of the

Justice Department or any other federal official and any and all persons with either office as

to the decision to seek and file federal charges against us. . . .” This request appears to fall

squarely within FED . R. CRIM . P. 16(a)(2) which exempts from disclosure “reports,

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memoranda, or other internal government documents made by an attorney for the

government or other government agent in connection with investigating or prosecuting the

case.” See United States v. Koskerides, 877 F.2d 1129, 1133 (2d Cir. 1989). Because the

request specifically seeks materials concerning the decision to prosecute this matter, the

request is DENIED.

          d.       Evidence Concerning International Law

          Defendants also seek to introduce evidence concerning international law.

Defendants appear to be arguing that such evidence is necessary to show that they did not

intend to violate any laws and to support a necessity defense. Defendants’ theory seems to

be that, because they believe the United States to be acting in violation of international law,

Defendants did not act with the intent to impede the lawful exercise of duties by an official of

the government.

          Defendants’ argument is misplaced. Their argument conflates the related, but

distinct concepts of motive and intent. Motive goes to the reason why someone acts (or fails

to act). Intent refers to the state of mind with which the act is done or not done. A

defendant’s motive for committing an act is irrelevant to the issue of guilt, except to the

extent that it may aid in determining intent. United States v. Edwards, 101, F.3d 17, 19 (2d

Cir. 1996); United States v. Praetorius, 622 F.2d 1054, 1063 (2d Cir. 1979); see Black’s Law

Dict. (8th ed.) (“When the intent to do an act that violates the law exists, motive becomes

immaterial.”).

          In Count One, Defendants are charged with conspiring to impede an officer of the

United States. To prove this Count, the government will have to show, inter alia, that two or

more persons entered into an agreement to impede or injure an officer, as specified in the

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statute. The question will be whether such an agreement was made. The purpose for which

a person may have agreed to impede or injure an officer is irrelevant. Thus, it is immaterial

whether Defendants acted because of their beliefs concerning the Iraq war. It similarly is

immaterial whether Defendants thought they were acting lawfully under principles of

international law. Again, the question is not why they may have engaged in certain conduct,

but whether they intended to engage in such conduct. Stated otherwise, the focus is not on

whether they believed they were acting for a lawful purpose (in furtherance of international

law), but whether they had the requisite mental resolution to agree to impede or injure an

officer (the unlawful act).

          The same reasoning applies to Count Two. That Count requires proof that

Defendants willfully injured property of the United States. Again, the reason why any

property may have been injured is not relevant. The question is whether Defendants

deliberately injured property of the United States. Urfer, 287 F.3d at 666. The government

does not need to prove that Defendants knew that any acts were illegal. Id. “Even if [the Iraq

war is] . . . contrary to international law . . ., domestic law could properly and does make it a

crime ‘to correct a violation of international law by destroying government property.’" Id. at

667 (quoting Allen, 760 F.2d at 453). Thus, “[s]tatements . . . concerning international law

[are] not relevant to any issue in the case.” United States v. Komisaruk, 885 F.2d 490, 493

(9th Cir. 1989).

          The same goes for Counts Three and Four. The motive for Defendants’ actions

are irrelevant. United States v. McGrath-Andino, 143 F. Supp.2d 184 (D. Puerto Rico 2001).

(“[T]he purpose of the illegal entry [onto government land] is irrelevant for a conviction under

18 U.S.C. § 1382.”); United States v. Bowers, 590 F. Supp. 307, 309 (N.D.N.Y. 1983)

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(McCurn, J.). The primary inquiry will be whether Defendants knowingly entered military

property for an unlawful purpose (such as to damage property) or re-entered military property

after having been removed therefrom; not the reason that motivated them to act.

          As the Second Circuit has stated in a similar case, Defendants’ argument “fails to

distinguish between two different and independent government actions: protection of

property and [foreign policy]. Although [Defendants’] purpose may have been to uphold

international law, their action[s] [are alleged to have] disobeyed the wholly independent

federal law protecting government property.” Allen, 760 F.2d at 453. The Circuit continued

to note that “[a]ppellants cite no international law, and we are aware of none, even

suggesting that an individual has the responsibility to correct a violation of international law

by destroying government property. To the contrary, international law recognizes the sanctity

of property. . . .” Id. For the foregoing reasons, Defendants’ request to introduce

international law as evidence is DENIED.

          e.        Government’s Cross-Motion for Discovery

          The government moves for reciprocal discovery, contending that Defendants have

failed to turn over any evidence to date. The government also contends that it served a

demand for an alibi notice, but has received no response. Defendants state that they “will be

glad to provide the prosecution with copies of any discovery [they] have.” The Court notes

that Defendants have an obligation to provide discovery to the government. Some of the

material the government seeks is specified in their memorandum of law. Defendants should

refer to that memorandum and provide any responsive materials. The Court encourages the

government to contact Defendants and assist them in identifying discoverable materials.

Because Defendants have indicated a willingness to comply with their discovery obligations,

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the Court denies the government’s motion with leave to renew upon a showing of

Defendants’ failure to provide discovery.

III.      CONCLUSION

          Defendants’ motion to continue the trial is GRANTED. In all other respects,

Defendants’ motions are DENIED. The government’s cross-motion for discovery is DENIED

with leave to renew.

IT IS SO ORDERED.

Dated:May 4,2005




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